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  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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 11    ROBERT LACAMBRA,                            Case No. 8:21-cv-01643-CAS-KES
 12                Plaintiff,
 13          v.                                  ORDER ACCEPTING REPORT AND
                                                   RECOMMENDATION OF U.S.
 14    CALIFORNIA DEPARTMENT OF                       MAGISTRATE JUDGE
 15    MOTOR VEHICLES, et al.,
 16                Defendants.
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 18
 19         Pursuant to 28 U.S.C. § 636, the Court has reviewed the pleadings and all the
 20   records and files herein, along with the Report and Recommendation of the United
 21   States Magistrate Judge. Further, the Court has engaged in a de novo review of
 22   those portions of the Report and Recommendation to which objections (Dkt. 16)
 23   have been made. The Court accepts the findings, conclusions, and
 24   recommendations of the United States Magistrate Judge.
 25         IT IS THEREFORE ORDERED that Judgment shall be entered:
 26   (a) dismissing the federal claims in the First Amended Complaint with prejudice
 27   ///
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  1   and without further leave to amend, and (b) declining to exercise supplemental
  2   jurisdiction over the state law claims in the First Amended Complaint.
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  4   DATED: February 17, 2022              _                        ________
  5                                         CHRISTINA A. SNYDER
                                            UNITED STATES DISTRICT JUDGE
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